         Case 3:14-cv-00090-KRG Document 153 Filed 06/03/16 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ERIC BOYINGTON, on behalf of himself             )
and all others similarly situated,               )
                                                 )      Civil Action No. 3:14-CV-00090
               Plaintiff,                        )
                                                 )
       v.                                        )      Judge Kim R. Gibson
                                                 )
PERCHERON FIELD SERVICES, LLC,                   )
                                                 )
               Defendant.                        )

                              CERTIFICATE OF DESTRUCTION

       I, hereby certify, under penalty of perjury and pursuant to the Court’s order dated

May 12, 2016, that all mobile phone records received in response to the subpoenas that

Defendant served upon Plaintiffs’ mobile phone carriers (comprised of two spreadsheets

pertaining to one Plaintiff), and all copies thereof, were destroyed. 1

                                                     Respectfully submitted,

                                                     /s/ Sarah J. Miley
                                                     Robert W. Pritchard (PA #76979)
                                                       rpritchard@littler.com
                                                     Jill M. Weimer (PA #207509)
                                                       jweimer@littler.com
                                                     Sarah J. Miley (PA #314830)
                                                       smiley@littler.com

                                                     LITTLER MENDELSON, P.C.
                                                     625 Liberty Avenue, 26th Floor
                                                     Pittsburgh, PA 15222
                                                     (412) 201-7628/7632/7669
                                                     (412) 774-1957 (facsimile)

                                                     Attorneys for Defendant
Dated: June 3, 2016                                  Percheron Field Services, LLC


1
  Littler cannot delete information stored in our backups, disaster recovery systems, or other
storage systems that make it impractical to destroy the information. However, Defendant and its
counsel will not access such systems for purposes of retrieving the mobile phone records at issue.


                                                 -1-
           Case 3:14-cv-00090-KRG Document 153 Filed 06/03/16 Page 2 of 2



                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 3rd day of June 2016, a true and correct copy of the foregoing

CERTIFICATE OF DESTRUCTION was served and filed using the United States District Court

for the Western District of Pennsylvania’s ECF system, through which this document is available

for viewing and downloading, causing a notice of electronic filing to be served upon the

following counsel of record:


                                   Joseph H. Chivers, Esquire
                                   Zachary K. Warren, Esquire
                                   THE EMPLOYMENT RIGHTS GROUP
                                   100 First Avenue, Suite 650
                                   Pittsburgh, PA 15222
                                   jchivers@employmentrightsgroup.com
                                   zkw@employmentrightsgroup.com

                                   John R. Linkosky, Esquire
                                   JOHN LINKOSKY & ASSOCIATES
                                   715 Washington Avenue
                                   Carnegie, PA 15106-4107
                                   linklaw@comcast.net

                                   Bruce C. Fox, Esq.
                                   Andrew J. Horowitz, Esq.
                                   OBERMAYER REBMANN MAXWELL & HIPPEL LLP
                                   500 Grant Street, Ste. 5240
                                   Pittsburgh, PA 15219
                                   bruce.fox@obermayer.com
                                   andrew.horowitz@obermayer.com




                                               /s/ Sarah J. Miley
                                               Sarah J. Miley
Firmwide:140767647.1 082494.1001




                                                 -2-
